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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA

RUSS IVY,                                          §

        Plaintiff,                                 §

v.                                                 §       Case No. 2:20-cv-01475-ILRL-KWR

JADE TRAN; XL REI, LLC; DOES 1-10 §                        (JURY DEMANDED)

        Defendants.                                §

     DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES
                             AND EXPENSES
TO THE HONORABLE U.S. DISTRICT COURT:
        COMES NOW Jade Tran and XL REI LLC, Defendants and submit their Response to

Plaintiff’s Motion for Attorneys’ Fees and Expenses as follows:

                                                        I.
                                                    RESPONSE

1.      Plaintiff has made a motion (Doc. 30) to recover attorneys’ fees of $1500.50 in this matter

based on the ruling of the Magistrate Judge in her order granting Plaintiff’s Motion to Compel

Discovery (Doc. 27), holding that although Defendants timely filed a motion to stay discovery and

for protective order in this case while their Motion to Dismiss was pending for decision,

Defendants failure to answer Plaintiff’s merits-based discovery served on them was unjustified

and an award of attorneys’ fees warranted. Id.1

2.     Defendants have filed their Objection to such Order (Doc. 29), which they incorporate by
reference herein.
3.      While Defendants do not contest the amount of attorneys’ fees being sought by Plaintiff’s

counsel, Defendants object that an award of attorneys’ fees is justified, and assert that neither


1
 Notwithstanding Defendants disagreement and objection to the ruling on the Motion to Compel, Defendants have
answered Plaintiff’s merits-based discovery and produced responsive documents to Plaintiffs.

                                                       1
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their Motion to Dismiss or Motion to Stay and Abate Discovery and for Protective Order was

unjustified or that Defendants needlessly sought to delay Plaintiff’s merits-based discovery in

this matter. Thus, Defendants disagree with the basis that an award of attorneys’ fees is justified

under the circumstances, and have sought reconsideration of such ruling by the Court.

4.     For these reasons, Defendants submit that no attorneys’ fees and expenses should be

awarded in favor of Plaintiff and their counsel.

                                                             Respectfully Submitted,




                                                             By:_________________

                                                             Steven E. Clark
                                                             La. Bar No. 04157
                                                             sclark@dfwlaborlaw.com

                                                             CLARK FIRM PLLC
                                                             5445 La Sierra Dr. Suite 415
                                                             Dallas, Texas 75231

                                                             Attorneys for Defendants
                                                             Jade Tran and XL REI, LLC


                                 CERTIFICATE OF SERVICE


       I hereby certify that on February 25, 2021, I have served Plaintiff’s counsel of record, Hope

Phelps, electronically or by another manner as authorized by FRCP 5(b)(2) and LR 5.4, E.D.La.




                                                             ____________________
                                                             Steven E. Clark
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